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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION


 UNITED STATES OF AMERICA,                           CR-13-63-GF-BMM-2

                  Plaintiff,

          vs.                                 ORDER ADOPTING FINDINGS
                                              AND RECOMMENDATIONS OF
 JOHN OWEN HOBBS, JR.,                           MAGISTRATE JUDGE

                  Defendant.

      United States Magistrate Judge John Johnston entered Findings and

Recommendations in this matter on March 31, 2015. (Doc. 132). Neither party

filed objections. When a party makes no objections, the Court need not review de

novo the proposed Findings and Recommendations. Thomas v. Arn, 474 U.S. 140,

149-52 (1986). This Court will review Judge Johnston’s Findings and

Recommendations for clear error. McDonnell Douglas Corp. v. Commodore Bus.

Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981).

      Hobbs admitted to having violated Special Condition 1 of his supervised

release by failing to abide by all rules and regulations of the residential preentry

center.

      Hobbs’s admissions constitute a Grade C violation. Hobbs’s criminal history

category is I and Hobbs’s underlying offense is a Class D felony. The statutory
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range is a maximum of 24 months in custody followed by a term of supervised

release up to 36 months, less any custody time imposed. The guideline range is 3 to

9 months in custody, followed by a term of supervised release up to 36 months,

less any custody time imposed.

      Judge Johnston found that Hobbs violated Special Condition 1. Judge

Johnston recommends that Hobbs be incarcerated for two months, with no

supervised release to follow.

      This Court finds no clear error in Judge Johnston’s Findings and

Recommendations and adopts them in full. Incarceration for two months followed

by no supervised release is an appropriate disposition of this case in light of

Hobbs’s violations.

      IT IS HEREBY ORDERED:

      1.     Judge Johnston’s Findings and Recommendations (Doc. 132) is

      ADOPTED IN FULL and Judgment shall be entered accordingly.

      DATED this 21st day of April, 2015.
